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             EXHIBIT A
    Redacted Version of
Document Sought to be Sealed
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     DESIGNATED CONFIDENTIAL BY DEFENDANT GOOGLE LLC PURSUANT TO FIRST
                       MODIFIED STIPULATED PROTECTIVE ORDER

 1    BLEICHMAR FONTI & AULD LLP                       SIMMONS HANLY CONROY LLC
      Lesley Weaver (Cal. Bar No.191305)               Jason ‘Jay’ Barnes (admitted pro hac vice)
 2    Angelica M. Ornelas (Cal. Bar No. 285929)        An Truong (admitted pro hac vice)
      Joshua D. Samra (Cal. Bar No. 313050)            Eric Johnson (admitted pro hac vice)
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 6    jsamra@bfalaw.com                                ejohnson@simmonsfirm.com

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      DICELLO LEVITT GUTZLER LLC                       DICELLO LEVITT GUTZLER LLC
 8    David A. Straite (admitted pro hac vice)         Amy E. Keller (admitted pro hac vice)
      One Grand Central Place                          Adam Prom (admitted pro hac vice)
 9    60 E. 42nd Street, Suite 2400                    Sharon Cruz (admitted pro hac vice)
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14                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
15                                     SAN JOSE DIVISION
16
      PATRICK CALHOUN, et al., on behalf of           Case No. 5:20-cv-05146-LHK-SVK
17    themselves and all others similarly situated,
                                                      PLAINTIFFS’ NOTICE OF DEPOSITION
18           Plaintiffs,                              OF DEFENDANT GOOGLE LLC
                                                      PURSUANT TO FEDERAL RULE OF
19           v.                                       CIVIL PROCEDURE 30(b)(6)
20    GOOGLE LLC,
21           Defendant.
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     DESIGNATED CONFIDENTIAL BY DEFENDANT GOOGLE LLC PURSUANT TO FIRST
                           MODIFIED STIPULATED PROTECTIVE ORDER
 1   sufficiently in advance of the proceeding(s). A list of all parties or attorneys for parties on whom
 2   this Notice of Deposition is being served is shown on the accompanying proof of service.
 3          NOTICE IS FURTHER GIVEN that the deponent is directed to produce, no later than five
 4   (5) business days prior to the deposition: (1) all documents, electronically stored information,
 5   objects, or other tangible items or things that deponent prepared, relied on and/or considered in any
 6   way in preparing for this deposition, and (2) a curriculum vitae for each person Google anticipates
 7   designating to testify on behalf of Defendant Google.
 8

 9    Dated: January 14, 2022

10    BLEICHMAR FONTI & AULD LLP                          DICELLO LEVITT GUTZLER LLC

11    By: /s/ Lesley Weaver                               By:     /s/ David Straite
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     PLS’ NOTICE 30(B)(6) DEPOSITION                  3               CASE NO. 5:20-CV-5146-LHK-SVK
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